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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO. 18-62942-CIV-DIMITROULEAS/SNOW

   ABS-CBN CORPORATION, et al.,

                    Plaintiffs,
   vs.

   CINESILIP.SU, et al.,

                    Defendants.
                                                     /

                FINAL DEFAULT JUDGMENT AND PERMANENT INJUNCTION

          THIS CAUSE is before the Court upon Plaintiffs’ Motion for Entry of Final Default

   Judgment Against Defendants (the “Motion”) [DE 27], filed herein on March 12, 2019. The

   Court granted the Motion in an Order entered separately today. Pursuant to Federal Rule of Civil

   Procedure 58(a), the Court enters this separate final judgment.

          Accordingly, it is ORDERED AND ADJUDGED that Final Default Judgment is hereby

   entered in favor of Plaintiffs, ABS-CBN Corporation, ABS-CBN Film Productions, Inc. d/b/a

   Star Cinema, and ABS-CBN International Corporation (“Plaintiffs”), and against Defendants, the

   Individuals, Partnerships, and Unincorporated Associations identified on Schedule “A” hereto

   (collectively “Defendants”) as follows:

          (1)       Permanent Injunctive Relief:

          Defendants and their officers, agents, servants, employees and attorneys, and all persons

   acting in concert or participation with Defendants are hereby permanently restrained and

   enjoined from:

                    a.      advertising, promoting, performing, copying, broadcasting, and/or
                            distributing any of Plaintiffs’ content or copyrighted works, including but
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                     not limited to those works identified in Paragraph 26 of the Complaint,
                     Schedule D thereto, and in Exhibit 3 thereto;

               b.    advertising, promoting, offering, using, or causing to be advertised,
                     promoted, or offered, services using Plaintiffs’ registered or common law
                     trademarks identified in Paragraphs 14 and 18 of the Complaint and in
                     Schedules “B” and “C” attached thereto (the “ABS-CBN Marks”);

               c.    using the ABS-CBN Marks in connection with any unauthorized services
                     or performances of Plaintiffs’ copyrighted works;

               d.    using any logo, and/or layout which may be calculated to falsely advertise
                     the services or products of Defendants as being sponsored by, authorized
                     by, endorsed by, or in any way associated with Plaintiffs;

               e.    falsely representing themselves as being connected with Plaintiffs,
                     through sponsorship or association;

               f.    engaging in any act which is likely to falsely cause members of the trade
                     and/or of the public to believe any content or services of/provided by
                     Defendants are in any way endorsed by, approved by, and/or associated
                     with Plaintiffs;

               g.    using any reproduction, counterfeit, copy, or colorable imitation of the
                     ABS-CBN Marks in connection with the publicity, promotion,
                     distribution, or advertising of any content or services by Defendants;

               h.    affixing, applying, annexing or using in connection with the sale of any
                     goods, a false description or representation, including words or other
                     symbols tending to falsely describe or represent Defendants’ content or
                     services offered by Defendants as being those of Plaintiffs or in any way
                     endorsed by Plaintiffs;

               i.    otherwise unfairly competing with Plaintiffs;

               j.    using the ABS-CBN Marks, or any confusingly similar trademarks,
                     within domain name extensions, metatags or other markers within website
                     source code, from use on any webpage (including as the title of any web
                     page), from any advertising links to other websites, from search engines’
                     databases or cache memory, and from any other form of use of such terms
                     which is visible to a computer user or serves to direct computer searches
                     to websites registered by, owned, or operated by Defendants; and

               k.    effecting assignments or transfers, forming new entities or associations or
                     utilizing any other device for the purpose of circumventing or otherwise
                     avoiding the prohibitions set forth above.


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         (2)   Additional Equitable Relief:

               a.     In order to give practical effect to the Permanent Injunction, the domain
                      names identified on Schedule “A” hereto (the “Subject Domain Names”)
                      are hereby ordered to be immediately transferred by Defendants, their
                      assignees and/or successors in interest or title, and the Registrars to
                      Plaintiffs’ control. To the extent the current Registrars do not facilitate the
                      transfer of the Subject Domain Names to Plaintiffs’ control within five (5)
                      days of receipt of this judgment, the Registries shall, within thirty (30)
                      days, change the Registrar of Record for the Subject Domain Names to a
                      Registrar of Plaintiffs’ choosing, and that Registrar shall transfer the
                      Subject Domain Names to Plaintiffs;

               b.     Upon Plaintiffs’ request, the top level domain (TLD) Registry for each of
                      the Subject Domain Names, or their administrators, including backend
                      registry operators or administrators, within thirty (30) days of receipt of
                      this Order, shall place the Subject Domain Names on Registry Hold status
                      for the life of the current registration, thus removing them from the TLD
                      zone files maintained by the Registries which link the Subject Domain
                      Names to the IP addresses where the associated websites are hosted; and

               c.     Defendants, their agent(s) or assign(s), shall assign all rights, title, and
                      interest, to their Subject Domain Name(s) to ABS-CBN and, if within five
                      (5) days of receipt of this Order Defendants fail to make such an
                      assignment, the Court shall order the act to be done by another person
                      appointed by the Court at Defendants’ expense, such as the Clerk of
                      Court, pursuant to Federal Rule of Civil Procedure 70(a).

         (3)   Statutory damages in favor of Plaintiffs pursuant to 15 U.S.C. § 1117(c):

               a.     Award Plaintiffs damages of $1,000,000.00 against each Defendant, for
                      which let execution issue;

         (4)   Statutory damages in favor of Plaintiffs pursuant to 17 U.S.C. § 504(c) are

               determined to be:

               a.     $30,000.00 against Defendant Number 4 – filikulamo.tk, for which let
                      execution issue;

               b.     $30,000.00 against Defendant Number 6 – fullpinoymovies.net, for which
                      let execution issue;

               c.     $30,000.00 against Defendant Number 15 – pinoymovies.site, for which
                      let execution issue;


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               d.      $30,000.00 against Defendant Number 24 – sunjerhd.com, for which let
                       execution issue;


         (5)   All funds currently restrained by the advertising services, networks, and/or

               platforms identified in Schedule “B” hereto (the “Advertising Services”), and

               their related companies and affiliates, pursuant to the temporary restraining order

               and the preliminary injunction in this action are to be immediately (within 5

               business days) transferred to Plaintiffs in partial satisfaction of the monetary

               judgment entered herein against each Defendant. The Advertising Services shall

               provide to Plaintiffs at the time the funds are released, a breakdown reflecting the

               (i) total funds restrained in this matter per Defendant; (ii) the total chargebacks,

               refunds, and/or transaction reversals deducted from each Defendant’s funds

               restrained prior to release; and (iii) total funds released per Defendant to the

               Plaintiffs.

         (6)   Interest from the date this action was filed shall accrue at the legal rate. See 28

               U.S.C. § 1961.

         (7)   The bond posted by Plaintiffs in the amount of $10,000.00 is hereby ordered

               released by the Clerk.

         (8)   The Court retains jurisdiction to enforce this Judgment and permanent injunction.

         (9)   Plaintiffs are ordered to serve a copy of this Order upon Defendants (a) via e-mail

               to the e-mail addresses provided by each Defendant as part of the domain

               registration records for each of their respective domain names, including service

               via registrar, or directly on the Internet websites operating under each of their

               corresponding domain names, including customer service e-mail addresses and




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                 onsite contact forms, or via the social media platform e-mail for each of the

                 Defendants’ social media accounts; and (b) by posting a true and accurate copy

                 of      the   foregoing   on       the   Internet   website   appearing     at

                 http://servingnotice.com/BF1SS/index.html.

          (10)   The Clerk is directed to CLOSE this case and DENY any pending motions as

                 moot.

          DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida,

   this ____ day of _________, 2019.

                                             ________________________________
                                             WILLIAM P. DIMITROULEAS
                                             United States District Judge


   Copies provided to:
   Counsel of Record




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                                SCHEDULE “A”
                DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                          Def. No.            Domain Name
                                 1   cinesilip.su
                                 1   pariwikitv.su
                                 1   pinoyhd.su
                                 2   dilsediltakdrama.net
                                 3   dramaofw.su
                                 3   dramaofw.ch
                                 4   filikulamo.tk
                                 5   filipinoshows.su
                                 5   filipinotvshows.su
                                 5   ofwpinoytambayan.su
                                 6   fullpinoymovies.net
                                 7   lambingansu.net
                                 8   pariwiki.su
                                 8   vidco.su
                                 9   pinoy1tvhd.su
                                10   pinoyako.co
                                11   pinoychannelflix.su
                                12   pinoychannelofw.su
                                13   pinoyflixtv.com
                                14   pinoylambingan.info
                                15   pinoymovies.site
                                16   pinoytambayanchannel.com
                                17   pinoytambayanlambingans.com
                                18   pinoytambayanlive.su
                                18   cinesilipsu.net
                                19   pinoytvb.com
                                20   pinoytvlovershd.com
                                21   pinoytvplus.com
                                22   pinoytvreplay.su
                                23   pinoytvreplays.co
                                24   sunjerhd.com
                                25   tambayand.com
                                25   lqnabc.info
                                25   tambayane.com
                                26   telebesyon.com
                                27   yztv.online
                                27   yztv.pw
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                                SCHEDULE “B”
       DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME, ADVERTISING ACCOUNT
                INFORMATION, AND ASSOCIATED E-MAIL ADDRESSES

                                  Advertising
   Def.         Domain              Service/            Account              Associated
   No.           Name              Platform            Identifier            E-mail(s)
                                 Google
                                 Adsense,         ca-pub-              javirock906@gmail.co
   1      cinesilip.su           Google LLC       8198232054412351     m
                                 Google
                                 Adsense,         ca-pub-              javirock906@gmail.co
   1      pariwikitv.su          Google LLC       3665264874099092     m
                                 Google
                                 Adsense,         ca-pub-              javirock906@gmail.co
   1      pinoyhd.su             Google LLC       8198232054412351     m
                                                  div-gpt-ad-
                                                  1541063367318-0
                                                  div-gpt-ad-
          dilsediltakdrama.net   Google           1541063451088-0      98e685e3f9f74bd982a1
          (Framed on             DoubleClick,     div-gpt-ad-          e855a10f60aa.protect@
   2      tfctvshows.ga)         Google LLC       1541063506421-0      whoisguard.com
                                 Google
                                 Adsense,         ca-pub-              vhungcc.kd@gmail.co
   3      dramaofw.su            Google LLC       9226293809914322     m
                                 N/A redirects    N/A redirects
   3      dramaofw.ch            to dramaofw.su   to dramaofw.su       N/A
                                 AdsKeeper,
                                 Hardware
                                 Solution
   4      filikulamo.tk          Limited          filikulamo.tk        N/A
                                 Google
                                 Adsense,         ca-pub-
   5      filipinoshows.su       Google LLC       4114366130058641     tiagotifa@yahoo.com
                                 Google
          ofwpinoytambayan.s     Adsense,         ca-pub-
   5      u                      Google LLC       9431595196029395     tiagotifa@yahoo.com
                                 Revcontent,
                                 Revcontent,
   5      filipinotvshows.su     LLC              rcjsload_10df2c      tiagotifa@yahoo.com
                                 RevenueHits,                          6437622@whoisprotect
   6      fullpinoymovies.net    Intango Ltd.     tid=92782_468779_1   ion.biz
                                 Taboola                               contact@privacyprotect
   7      lambingansu.net        Taboola, Inc.    lambingan            .org
                                 Google           ca-pub-              waqarkhanmalghani@g
   8      vidco.su               Adsense,         8827305951524896     mail.com


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                                 Advertising
   Def.         Domain             Service/              Account             Associated
   No.           Name             Platform              Identifier           E-mail(s)
                                Google LLC

                                mgid.com,
                                MGID Inc.                              waqarkhanmalghani@g
   8      pariwiki.su           MGID UA           pariwiki.su          mail.com
                                Google
                                Adsense,          ca-pub-
   9      pinoy1tvhd.su         Google LLC        3443367408593548     koreamitti@gmail.com
                                Google
                                Adsense,          ca-pub-              pinoyako.co@gmail.co
   10     pinoyako.co           Google LLC        2838404477920338     m
                                Google
                                Adsense,          ca-pub-
   11     pinoychannelflix.su   Google LLC        2298926256267506     paktvsite@gmail.com
                                Google
                                Adsense,          ca-pub-              kathleengil224@gmail.
   12     pinoychannelofw.su    Google LLC        8008043498317742     com
                                                                       pw-
                                Google                                 a0c0067303966fa1451e
                                DoubleClick,      div-gpt-ad-          ff3359aa4eb6@privacy
   13     pinoyflixtv.com       Google LLC        1542804772125-0      guardian.org
                                Google
                                Adsense,          ca-pub-              pinoylambingan.info@
   14     pinoylambingan.info   Google LLC        4226698868686867     domainsbyproxy.com
                                popads.net,
                                Tomksoft
   15     pinoymovies.site      S.A.              2901992              N/A
                                                                       https://whoiscontact.sec
                                                                       ure-
                                Google                                 admin.com/?token=593
          pinoytambayanchan     Adsense,          ca-pub-              A8A20-EB65-4878-
   16     nel.com               Google LLC        2666935058879977     818D-F32917D37DCB
          pinoytambayanlambi
   17     ngans.com          N/A                  N/A                  N/A
                                                                       pw-
                                Google                                 89b1d4df9d6007385b6f
                                Adsense,          ca-pub-              a40cf592ab0a@privacy
   18     cinesilipsu.net       Google LLC        4580510514716350     guardian.org
                                N/A redirects
          pinoytambayanlive.s   to                N/A redirects        bepanahcolorstv1@gm
   18     u                     cinesilipsu.net   to cinesilipsu.net   ail.com



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                                Advertising
   Def.         Domain           Service/              Account              Associated
   No.           Name            Platform             Identifier            E-mail(s)
                                                                      pw-
                                                                      f58169373123b4021cf6
                                                                      9826bfff2492@privacy
   19     pinoytvb.com         N/A              N/A                   guardian.org
                                                                      af54ab188fcc4e21b99e
                              Taboola                                 993f725ca0c8.protect@
   20     pinoytvlovershd.com Taboola, Inc.     techrapidly-pinoytv   whoisguard.com
                                                                      95a25126b69547d78cb
                               Taboola          techrapidly-          94d32f2b8beeb.protect
   21     pinoytvplus.com      Taboola, Inc.    pinoytvplus           @whoisguard.com
                               Google
                               Adsense,         ca-pub-
   22     pinoytvreplay.su     Google LLC       1651216597970128      herpalasif@gmail.com
                               Google
                               Adsense,         ca-pub-
   23     pinoytvreplays.co    Google LLC       8051557725411837      N/A
                               AdsKeeper,
                               Hardware
                               Solution                               sunjerhd.com@domain
   24     sunjerhd.com         Limited          sunjerhd.com          sbyproxy.com
                               Google
                               Adsense,         ca-pub-               sunjerhd.com@domain
   24     sunjerhd.com         Google LLC       4129485395961669      sbyproxy.com
                                                                      2f6e6adb362c4adc8373
                               Google                                 0a2ee8cc9fcb.protect@
                               Adsense,         ca-pub-               whoisguard.com
   25     tambayane.com        Google LLC       2928852312410693      admin@aliwan.info
                               N/A, redirects                         caa3c2f43a7740b7bf8d
                               to               N/A, redirects        691921d2bc95.protect
   25     tambayand.com        tambayane.com    to tambayane.com      @whoisguard.com
                               N/A, redirects
                               to               N/A, redirects
   25     lqnabc.info          tambayane.com    to tambayane.com      N/A
                               Google
                               Adsense,         ca-pub-               telebesyon.com@domai
   26     telebesyon.com       Google LLC       7559543077218518      nsbyproxy.com
                               AdsKeeper,
                               Hardware
                               Solution
   27     yztv.pw              Limited          yonipzone.rocks       N/A
                               Google
                               Adsense,         ca-pub-
   27     yztv.pw              Google LLC       4797266658649202      N/A


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                             Advertising
    Def.         Domain        Service/             Account           Associated
    No.           Name         Platform            Identifier         E-mail(s)
                           N/A, redirects    N/A, redirects
    27     yztv.online     to yztv.pw        to yztv.pw         N/A




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